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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
SYNTHEON, LLC,                      )
                                    )
                  Plaintiff,        )
                                    )                 C.A. NO. 16-10244-ADB
v.                                  )
                                    )
COVIDIEN AG,                        )
                                    )
                  Defendant.        )
____________________________________)

     NON-PARTY CARTER, DELUCA, FARRELL & SCHMIDT LLP’S MEMORANDUM
       OF LAW IN OPPOSITION TO PLAINTIFF SYNTHEON, LLC’S MOTION TO
        COMPEL NON-PARTY CARTER, DELUCA, FARRELL & SCHMIDT LLP

        Non-party Carter, DeLuca, Farrell, & Schmidt LLP (“Carter DeLuca”) respectfully

submits this memorandum of law in opposition to Plaintiff Syntheon LLC’s (“Syntheon”)

Motion to Compel and accompanying Memorandum in Support (“Motion to Compel”) (Dkts.

102 & 103).

I.      INTRODUCTION

        The subpoena at issue here stems from an underlying contractual dispute between

Syntheon and Covidien AG (collectively, “the parties”) currently being litigated before this

Court. That dispute revolves around a 2008 Asset Purchase Agreement (“APA”) that governed

the sale of certain intellectual property rights and payment of royalties between the parties.

Despite Syntheon’s accusatory rhetoric, Carter DeLuca is a party to neither the APA, nor the

underlying litigation between the parties; Carter DeLuca is Covidien’s patent prosecution

counsel. Apparently unsatisfied with the discovery it sought or obtained from Covidien during

the fact discovery period in this case, Syntheon now seeks to improperly elicit privileged


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information (in the form of both documents and deposition testimony) from Carter DeLuca.

Despite Carter DeLuca’s status a bystander, Syntheon served on Carter DeLuca a subpoena for

documents and deposition testimony that primarily targets information that is either privileged or

would have been more readily attainable from Covidien or other public sources. Now, months

after the close of fact discovery, Syntheon asks this Court to enforce this overbroad and unduly

burdensome subpoena.

          When Carter DeLuca informed Syntheon that its request encompassed documents already

produced by Covidien, Syntheon proposed that Carter DeLuca de-duplicate its production

against those documents already produced by Covidien—a process that would cost Carter

DeLuca tens of thousands of dollars. Similarly, when Carter DeLuca informed Syntheon that it

anticipated that any responsive documents would be privileged, Syntheon stated that it would be

satisfied if all it received from Carter DeLuca at the end of this process was a privilege log (and

no actual documents). Why Syntheon thinks it is permissible to burden a non-party nearly three

months after discovery in the underlying litigation has apparently closed just to obtain, for

example, a privilege log and copies of documents it likely could have earlier obtained from a

party or public sources, is unclear. Rule 45 imposes an affirmative burden on Syntheon and its

lawyers, stating in no indefinite terms that “a party or attorney responsible for issuing a subpoena

must take reasonable steps to avoid imposing undue burden or expense” on a non-party. Fed. R.

Civ. P. 45(d)(1) (emphasis added).

          Despite the fact that Syntheon’s subpoena was deficient from the outset,1 Carter DeLuca

sought to work with Syntheon to understand exactly what Syntheon sought from Carter DeLuca

that was not privileged. It quickly became evident, however, that Syntheon was seeking the



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    See discussion infra at§ II.A & n.4.


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production of both privileged and non-privileged documents and testimony, on the basis that

Covidien had allegedly waived privilege. Unsurprisingly, Covidien disputes that there was any

waiver of privilege. Covidien’s position, coupled with Syntheon’s refusal to identify the scope

and basis for the purported waiver, left Carter DeLuca at an impasse with no choice other than to

continue to strenuously assert privilege on behalf of its client, Covidien.

       Carter DeLuca respectfully requests that the Court deny Syntheon’s motion on the basis

that compliance with the subpoena would impose an undue burden on Carter DeLuca.

Alternatively, given the substantial delays orchestrated by Syntheon thus far in the handling of

this subpoena, Carter DeLuca respectfully requests that the Court deny Syntheon’s Motion to

Compel as untimely.

II.    FACTUAL BACKGROUND

       A.      Syntheon’s Subpoena to Non-Party Carter DeLuca

       On April 12, 2017, Syntheon served a subpoena on non-party Carter DeLuca seeking

both deposition testimony and production of documents. Dkt. 103-1. The subpoena identifies

nineteen broad deposition topics and six categories of documents. The majority of the deposition

topics and document categories relate to Carter DeLuca’s prosecution of the so-called “Two

Stage Patent Switch Family,” Dkt. 103-1 at 5, ¶ 4,2 on behalf of Covidien, including, in many

cases “all communications” related thereto, id. at 6-8, ¶¶ 4, 6, 8, 10, 13, 15. The subpoena

directly references, and attaches copies of, the declarations of Stephen B. Perkins, Associate

General Counsel, IP, at Medtronic, the ultimate parent of Defendant Covidien AG (“Perkins



2
 Carter DeLuca recognizes that several docket entries cited herein contain multiple sub-
documents, each with their individual page numbering schemes, while others do not start at page
one. See, e.g., Dkt. 103-1. Accordingly, when citing to pages within docket entries, Carter
DeLuca is referring to the page numbers as they appear at the top of the page when viewing the
document on the Court’s ECF system.


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Declaration”) and Joseph O. McPartland, an attorney at Carter DeLuca, (“McPartland

Declaration”) filed by Covidien in connection with the litigation. Id. at 5, ¶¶ 5-6; id. at 10-24.

       In one particularly overbroad deposition topic, Syntheon seeks all of Carter DeLuca’s

“formal or informal policies, procedures, and/or general practices relating to the prosecution of

patent applications and related patent portfolio,” including identification of “each instance” in

which Carter Deluca performed a number of routine patent prosecution tasks. Dkt. 103-1 at 8,

¶ 19 (emphasis added). This request was not tied to Carter Deluca’s prosecution of the patents at

issue in the underlying litigation and would encompass each of the thousands of times any

attorney at Carter DeLuca—a firm specializing in patent prosecution—has, for example “met

with or requested a meeting with a patent examiner to discuss prior art,” “filed a Request for

Continued Examination (‘RCE’),” or “filed an Information Disclosure Statement (‘IDS’)

disclosing prior art references.” Id.

       Notably, although the subpoena was not served until April 12, 2017, it specified a

compliance date of April 7, 2017. Syntheon claims this was a typographical error and that the

deposition of Carter DeLuca was “scheduled to go forward on April 21, 2017,” Dkt. 103 at 14,

however Syntheon never informed Carter DeLuca of this “typographical error”, nor did

Syntheon make any attempt to correct the error. April 21, 2017, came and went without

Syntheon contacting counsel for Carter DeLuca. Indeed, the first time counsel for Syntheon

contacted counsel for Carter DeLuca was on April 25, 2017. See Modi Aff., ¶ 8, Ex. B.3

Syntheon appeared to be in no rush, despite the impending close of fact discovery, suggesting on

April 27, 2017 (one day prior to the close of discovery) that they discuss Carter DeLuca’s

objections toward “the middle to the end of the [following] week.” Id.


3
 Citations to “Modi Aff.” are to the Affadavit of Naveen Modi in Support of Non-Party Carter,
DeLuca, Farrell & Schmidt LLP’s Opposition to Plaintiff Syntheon LLC’s Motion to Compel.


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       B.      Carter DeLuca’s Response to the Subpoena and Attempts to Meet and Confer

       Carter DeLuca timely served objections to Syntheon’s subpoena on April 26, 2017. Dkt.

103-2. Despite the defective subpoena,4 Carter DeLuca offered to meet and confer with

Syntheon to try to resolve those objections. Dkt. 103-2 at 2-3, ¶ 2. Although Carter DeLuca

offered to provide a witness and/or produce documents in response to Syntheon’s subpoena, this

offer was expressly contingent on Carter Deluca “reach[ing] agreement [with Syntheon] on the

appropriate scope of any such deposition and/or document production.” Id.

       In parallel, Carter DeLuca conducted a reasonable, good-faith search for responsive

documents and reviewed representative samplings of potentially responsive documents from a

number of custodians. This review confirmed that, as Carter DeLuca expected and subsequently

informed Syntheon, the vast majority of the responsive documents in Carter DeLuca’s

possession were privileged. To the extent such documents were not privileged, they largely

consisted of information that would have been available from Covidien during party discovery or

from public sources, such as the U.S. Patent and Trademark Office. See Modi Aff., ¶ 4, 5.

       During an initial conference on May 10, 2017, Carter DeLuca informed Syntheon of the

privileged nature of its responsive documents and requested that Syntheon identify the non-

privileged information it sought from Carter DeLuca that was not readily available in the public

record. See Dkt. 103-6. During the same conference, which was also attended by counsel for




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  Carter DeLuca objected to the subpoena, in part, on the basis that it was impossible to comply
with the subpoena by the requested date. Dkt. 103-2 at 2, ¶ 2. Syntheon made no attempt to
correct the compliance date or otherwise cure the deficiency of the subpoena. According to
Moore’s Federal Practice, “[a] subpoena that commands compliance before it is served leaves
no time for compliance, and must be quashed.” 9 Charles R. Richey, Moore’s Federal Practice
– Civil § 45.51. Rather than initially moving to quash on this technicality, Carter DeLuca sought
to work constructively with Syntheon to understand the nature and scope of the information it
sought.


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Covidien, it quickly became clear that Syntheon and Covidien fundamentally disagreed

regarding whether Covidien had waived privilege.

       In letters dated May 10, 2017, and May 15, 2017, Carter DeLuca twice reiterated its

request for Syntheon to identify the non-privileged information it sought and twice offered to

continue to meet and confer. See Dkt. 103-6; Dkt. 103-8. In the same letters, Carter DeLuca

explained that it intended to assert privilege to the broadest extent possible unless and until

Syntheon and Covidien were able to resolve their threshold dispute regarding privilege waiver.

       Carter DeLuca’s May 15, 2017, letter went unanswered until June 28, 2017, nearly a

month and a half later, when Syntheon informed Carter DeLuca that it intended to file a motion

to compel. See Modi Aff., ¶¶ 11-12, Ex. C. Having received no prior response to its May 15,

2017, letter, and aware that fact discovery in the underlying litigation closed on April 28, 2017,

Carter DeLuca had assumed that Syntheon no longer sought discovery from Carter DeLuca and

that any dispute had been resolved. Carter DeLuca responded to Syntheon on the same day,

noting both its surprise to Syntheon’s decision to file a motion to compel at this time and

Syntheon’s lack of a response to the outstanding issues raised in Carter DeLuca’s May 15, 2017,

correspondence. See Modi Aff., ¶ 13, Ex. D.

       Syntheon and Carter DeLuca, joined by counsel for Covidien, subsequently met and

conferred on July 13, 2017. During that conference, Carter DeLuca laid out the same issues it

had raised in its letters following the May 10, 2017, conference. The conversation quickly

morphed from Carter DeLuca requesting that Syntheon identify the non-privileged information it

was seeking, to Syntheon arguing that Covidien had waived privileged and that Carter Deluca

should produce privileged information and offer privileged testimony. Syntheon argued (without

providing specifics) that Covidien had waived privilege through the Perkins Declaration, the




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McPartland Declaration, and/or the Deposition of Stephen Perkins (“Perkins Deposition”).

Covidien argued that there had been no waiver and, at least with respect to the Perkins

Deposition, that Mr. Perkins only testified regarding information in the public record. Covidien

subsequently requested that Syntheon specify what privilege Syntheon believes was waived,

along with the basis for the alleged waiver. Syntheon failed to provide such an explanation (at

least to Carter DeLuca) either on the call or in any follow-up correspondence received by Carter

DeLuca to date. See Modi Aff., ¶¶ 14-15.

       Fully cognizant of its outstanding privilege waiver dispute with Covidien, and despite

Carter DeLuca’s repeated representations that it had little non-privileged information to offer that

could not have previously been more appropriately obtained from other sources, Syntheon filed

its Motion to Compel on July 18, 2017, over three months after it served its April 12, 2017,

subpoena.

III.   ARGUMENT

       Carter DeLuca respectfully requests that this Court deny Syntheon’s Motion to Compel

for two reasons. First, because Syntheon’s subpoena seeks information that is privileged, was

previously available from Covidien during party discovery, and is available from public sources,

Syntheon’s subpoena fails to adhere to the Federal Rules and Carter DeLuca would be unduly

burdened by compliance. Second, because Syntheon unnecessarily delayed discussions with

Carter DeLuca and ultimately waited to file its Motion to Compel until three months after the

close of discovery, Syntheon’s Motion to Compel is untimely.

       A.      Carter Deluca Would Be Unduly Burdened by Compliance with Syntheon’s
               Subpoena, Which Fails to Adhere to the Federal Rules

       The Federal Rules of Civil Procedure “afford nonparties special protection against the

time and expense of complying with subpoenas.” Exxon Shipping Co. v. United States Dep’t of



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Interior, 34 F.3d 774, 779 (9th Cir. 1994). Under Rule 45, a party or attorney who issues a

subpoena to a non-party must take reasonable steps to avoid imposing undue burden or expense

on the non-party. Rockstar Consortium US LP & Netstar Techs. LLC v. Google Inc., 2015 U.S.

Dist. LEXIS 139770, No. 14-91322-FDS, at *12 (D. Mass. Oct. 14, 2015) (citing Fed. R. Civ. P.

45(d)(1)).

       As the First Circuit has explained, “concern for the unwanted burden thrust upon non-

parties is a factor entitled to special weight in evaluating the balance of competing [discovery]

needs.” Cusumano v. Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998); see Heidelberg Ams.,

Inc. v. Tokyo Kikai Seisakusho, Ltd., 333 F.3d 38, 42 (1st Cir. 2003) (upholding district court

order quashing subpoena where court found that burden placed on non-party by overbroad

subpoena outweighed the party’s need for the documents); Ameristar Jet Charter, Inc. v. Signal

Composites, Inc., 244 F.3d 189, 193 (1st Cir. 2001) (where party “has not shown that the

information sought from [the non-parties] would be anything but cumulative or duplicative . . . it

would be an ‘undue burden’ on . . . a non-party to permit such a ‘fishing expedition.’”) (citation

omitted); see also Bio-Vita, Ltd. v. Biopure Corp., 138 F.R.D. 13, 17 (D. Mass. 1991) (“To

obtain discovery from nonparties, a party must establish that its need for discovery outweighs the

nonparty’s interest in nondisclosure.”).

       To determine whether a subpoena imposes an “undue burden” on a non-party, courts

consider “(1) the relevance of the information requested; (2) the need of the party for the

documents; (3) the breadth of the document request; (4) the time period covered by the request;

(5) the particularity with which the party describes the requested documents; (6) the burden

imposed; and (7) the expense and inconvenience to the non-party.” LSI Corp. v. Vizio, Inc., No.

12-mc-91068-DJC, 2012 U.S. Dist. LEXIS 83657, at *7 (D. Mass. May 24, 2012). No single




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factor is dispositive and the ultimate determination of undue burden and reasonableness is

subject to the discretion of the court. See Rockstar Consortium, 2015 U.S. Dist. LEXIS 139770,

at *13.

          As the party resisting discovery, Carter DeLuca bears the burden of demonstrating that

the subpoena imposes an undue burden and must show the “manner and extent of the burden and

the injurious consequences of insisting upon compliance.” In re New Eng. Compounding

Pharm., Inc., MDL No.13-2419-FDS, 2013 U.S. Dist. LEXIS 161652, at *32 (D. Mass. Nov. 13,

2013). As explained below, Carter DeLuca has met this burden.

                 1.     The Court Should Not Require Carter DeLuca to Provide Information
                        Syntheon Already Obtained (or Could Have Obtained) From Covidien or a
                        Public Source

          Requiring Carter DeLuca to provide information Syntheon already obtained (or could

have previously obtained) from Covidien would impose an undue burden on Carter DeLuca.

The vast majority of the potentially responsive, non-privileged documents and information in

Carter DeLuca’s possession generally fall into two categories: (1) information Syntheon obtained

(or could have obtained) from Covidien during party discovery; and (2) information that is

publicly available (such as from the U.S. Patent and Trademark Office). “If the material sought

by subpoena is readily available, either from a party to the action or from a public source,

obtaining it through subpoena on a nonparty witness often will create an undue burden.” 9

Charles R. Richey, Moore’s Federal Practice – Civil § 45.32; see Rockstar Consortium, 2015

U.S. Dist. LEXIS 139770, at *19 (noting that the second of the LSI Corp. factors weighs in favor

of an undue burden finding where a document request directed at a non-party could have been

satisfied by a party). Syntheon’s discovery requests make no attempt to exclude information it

already obtained (or could have obtained) from these more readily accessible sources. Syntheon




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must not be permitted to use a subpoena as a backdoor to improperly seek information from a

non-party that it apparently failed to diligently seek from a party prior to the close of discovery.

       It is illustrative that many of Syntheon’s documents requests and deposition topics seek

information Syntheon could have previously—and likely already has—obtained either from

Covidien (a party to the litigation) or public sources (such as the U.S. Patent and Trademark

Office). For example, several document requests and deposition topics relate to the prosecution

of Patent Application Nos. 14/231,042 (“the ’042 Application”) and 14/607,358 (“the ’358

Application”), as well as prior art relating to the invalidity thereof. See, e.g., Dkt. 103-1 at 6-7,

¶¶ 1,2,7; id. at 9, ¶ 1. However, Covidien’s First Supplemental Initial Disclosures, served

January 3, 2017, both identify Stephen Perkins as a Covidien employee having relevant

knowledge pertaining to the same topics, see Dkt. 103-3 at 4, and state that documents pertaining

to these topics are within Covidien’s custody and control, see Dkt. 103-3 at 7, ¶¶ 3-4. Carter

DeLuca’s understanding is that Syntheon had the opportunity to depose Mr. Perkins and that

Covidien has already produced a multitude of documents relating to the ’358 and ’042

Applications. It was Covidien’s choice—during party discovery—to elect whether or not to

waive privilege and produce additional documents responsive to these topics. Covidien’s

apparent decision not to elect such waiver does not now permit Syntheon to seek from Carter

DeLuca the very information that Covidien properly elected not to provide.

       Similarly, another proposed deposition topic relates to the July 22, 2015, meeting with

the Patent Examiner that is referenced in the March 7, 2017 Perkins Declaration. See Dkt. 103-1

at 7, ¶ 9. Although not mentioned by Syntheon, an interview summary for that meeting is

readily available in the public files of the U.S. Patent and Trademark office. Modi Aff., ¶ 7, Ex.

A. Further, Mr. Perkins—who Syntheon deposed—attended that meeting and could have




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answered any questions relating to the meeting during his deposition. See Dkt. 103-1 at 20, ¶ 24.

Syntheon fails to explain why any testimony offered by Mr. Perkins was insufficient, or why it

could not otherwise have obtained the information it now seeks through party discovery or from

public sources.

       With respect to documents already produced by Covidien, Carter DeLuca specifically

informed Syntheon of its concerns regarding the unnecessary burden associated with duplicative

productions. In response, Syntheon suggested that Carter DeLuca could de-duplicate its

production against any documents already produced by Covidien. In so doing, Syntheon ignored

the fact that such a de-duplication effort would require access to Covidien’s entire document

production (which of course Carter DeLuca does not have) and would cost Carter DeLuca

upwards of tens of thousands of dollars. See Modi Aff., ¶ 6. Syntheon’s subpoena should have

been drafted to explicitly carve out such information.

       The Federal Rules dictate that a court must “limit the frequency or extent of discovery

otherwise allowed . . . if it determines that (i) the discovery sought is unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive; (ii) the party seeking discovery has had ample opportunity to

obtain the information by discovery in the action; or (iii) the proposed discovery is outside the

scope permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C); see Accusoft Corp v. Quest

Diagnostics, Inc., No. 12-40007-FDS, 2012 U.S. Dist. LEXIS 54216, at *30 (D. Mass. Apr. 18,

2012) (limiting discovery from non-party where court found discovery could have been obtained

from a more convenient source—another party). Each of these conditions is satisfied here:

Covidien’s initial disclosures alone make clear that much of the information Syntheon now seeks

from Carter DeLuca was available from Covidien during party discovery, and in any event much




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of the same information was available form public sources; Syntheon had over three months to

seek such information from Covidien; and much of the information sought by Syntheon is

privileged and therefore outside the scope of Rule 26(b)(1).

       Despite the fact that a Carter DeLuca attorney was identified in Covidien’s initial

disclosures on January 3, 2017, see Dkt. 103-3 at 6, Syntheon offers no explanation for why it

waited over three months (until just two weeks prior to the close of discovery) to seek any

discovery from Carter DeLuca. Nor has Syntheon explained why it could not have sought and

obtained documents and testimony regarding the topics noticed in the Carter DeLuca subpoena

from Covidien earlier in the litigation. Carter DeLuca should not be burdened by Syntheon’s

apparent failure to diligently pursue party discovery from Covidien. Nor should Syntheon be

permitted to use this subpoena as a tool to improperly circumvent any of Covidien’s prior claims

of privilege. “Rule 45 does not excuse imposing an undue burden on . . . a non-party because of

discovery difficulties with [a party].” Rockstar Consortium, 2015 U.S. Dist. LEXIS 139770, at

*19.

               2.     Carter DeLuca Is Covidien’s Patent Prosecution Counsel and the Vast
                      Majority of Responsive Information in its Possession Is Privileged

       Carter DeLuca is Covidien’s patent prosecution counsel, and as such, the vast majority of

communications and related information that would otherwise be responsive to Syntheon’s

requests are protected by the attorney-client privilege. For example, a large number of the

substantive, responsive materials include communications between attorneys at Carter DeLuca

regarding legal advice sought by Stephen Perkins, in-house counsel at Covidien, and documents

prepared for the purpose of providing legal advice to Mr. Perkins and his legal team at Covidien.

These materials are privileged as they were made for the purpose of providing legal advice

concerning preparation or prosecution of applications in the two-stage switch patent family. See



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Conner Peripherals, Inc. v. Western Digital Corp., No. C93-20117 RMW/EAI, 1993 WL

726815 (N.D. Cal. June 8, 1993) (denying motion to compel because attorney-client privilege

protected communications regarding prosecution of a patent application and also ruling that

privilege protected draft papers, including draft applications, from discovery). The substantive

materials that are not privileged largely contain information that could be obtained from public

sources regarding pending and issued patents (e.g., as-filed papers). See Modi Aff., ¶ 5.

       Carter DeLuca should not be required to go through the expensive and burdensome

exercise of reviewing thousands of documents only to create a privilege log of those documents.

Requiring Carter DeLuca to engage in such a futile exercise would run afoul of Rule 45. When

Carter DeLuca informed Syntheon during a teleconference on July 13, 2017, that it anticipated

that any responsive documents would be privileged, Syntheon stated that it would be satisfied if

at the end of this process all it received was a privilege log (and no actual documents).

Regardless of whether such an outcome might placate Syntheon, the substantial time and

resources that Carter DeLuca would need to expend to review thousands of documents only to

create a privilege log, weighs in favor an undue burden finding under the LSI Corp. factors.

Indeed, Syntheon fails to explain what “competing need” it could possibly have for such a

privilege log three months after the close of fact discovery. Cf. Cusumano, 162 F.3d at 717

(explaining that “[a]lthough discovery is by definition invasive, parties to a law suit must accept

its travails as a natural concomitant of modern civil litigation. Non-parties have a different set of

expectations. Accordingly, concern for the unwanted burden thrust upon non-parties is a factor

entitled to special weight in evaluating the balance of competing needs.”)




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               3.      Covidien and Syntheon Actively Dispute Whether There Was a Waiver of
                       Privilege

       As discussed supra at § II.B, Syntheon and Covidien actively disagree about whether

there has been any waiver of privilege by Covidien. Syntheon contends that Covidien has

waived privilege, while Covidien disagrees. Syntheon is fully aware that this dispute is central

to how Carter DeLuca must respond to Syntheon’s subpoena. Nonetheless, the majority of

Syntheon’s motion is devoted to arguing relevance and the merits of its dispute with Covidien.

Despite Covidien explicitly requesting during the July 13, 2017, conference that Syntheon

explain the basis for its claim that Covidien waived privilege, nowhere in its Motion to Compel

does Syntheon do so. See Dkt. 103. This is a fundamental threshold issue to any meaningful

compliance by Carter DeLuca.5

       Unless and until this privilege waiver dispute is resolved, Carter Deluca has an obligation

to its client, Covidien, to assert privilege to the broadest extent possible. Carter DeLuca

informed Syntheon of its position on the privilege waiver issue in no uncertain terms in its letter

dated May 10, 2017. Dkt. 103-6. If this Court orders Carter DeLuca to comply with Syntheon’s

subpoena without first addressing the privilege waiver issue, Carter DeLuca faces the distinct

prospect that it may be required—after it complies with the subpoena a first time—to needlessly

repeat the entire exercise by: (1) re-reviewing documents that were previously withheld and

logged as privileged; (2) preparing a witness for a second deposition; and (3) burdening a Carter

DeLuca attorney with attendance at a second deposition. It is both unnecessary and unfair to

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  Syntheon implies that it should be permitted to depose Carter DeLuca on the basis that
Covidien was permitted to depose Mayback & Hoffman (Covidien’s prior patent prosecution
counsel). See Dkt. 103 at 11. Whether Covidien was permitted to depose Mayback & Hoffman
is irrelevant to whether Syntheon should be permitted to depose Carter DeLuca. First, as
Syntheon points out, Covidien noticed the deposition of Mayback & Hoffman in December
2016, see id., which was over four months prior to the close of discovery. Second, Mayback &
Hoffman was Covidien’s own prior patent prosecution counsel, mitigating any risk of undue
burden on Mayback & Hoffman that may have otherwise stemmed from privilege disputes.


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impose the risk of this additional burden on Carter DeLuca, a non-party to this litigation, who

has made every reasonable effort to work with Syntheon to reach agreement on the scope of its

requests. For all of these reasons, Syntheon’s Motion to Compel should be denied.

       B.      Syntheon’s Motion to Compel is Untimely

       Alternatively, Syntheon’s Motion to Compel, which was brought nearly three months

after the close of fact discovery in the underlying litigation, should be denied as untimely.

Although Carter DeLuca admits that it is unfamiliar with the specific manner in which discovery

is conducted in this particular Court (and has been conducted to date in the underlying litigation),

it is aware that other courts consider motions to compel brought after the close of discovery

untimely. See, e.g., Ayala-Gerena v. Bristol Myers-Squibb Co., 95 F.3d 86, 93-94 (1st Cir. 1996)

(finding no abuse of discretion where district court noted moving party’s lack of diligence and

denied motion to compel filed one month after discovery deadline as untimely); Amoah v.

McKinney, No.4:14- 40181 TSH, 2016 U.S. Dist. LEXIS 91670, at *2-4 (D. Mass. July 14,

2016) (denying motion to compel filed after date set by court for completion of fact discovery as

untimely); Berio-Ramos v. Flores-Garcia, No. 13 Civ. 1879 (PAD), 2015 U.S. Dist. LEXIS

166461, at *1 (D.P.R. Dec. 11, 2015) (“[L]itigants are not authorized to bypass deadlines.”);

Flynn v. Health Advocate, Inc., No. 03 Civ. 3764, 2005 U.S. Dist. LEXIS 1704, at *27 (E.D. Pa.

Feb. 8, 2005) (citing some of the “[m]any courts [that] have stated that Motions to Compel filed

after the discovery deadline are untimely”).

       Given that Syntheon’s Motion to Compel was not filed until July 18, 2017, this Court

should deny it as untimely. Syntheon offers no justification for its extended delay. Carter

DeLuca’s understanding is that this Court ordered completion of all fact discovery in this case by

April 28, 2017. Dkt. 60. Prior to Syntheon notifying Carter DeLuca on June 28, 2017, that it

had prepared and intended to file a motion to compel, the last correspondence between Carter


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DeLuca and Syntheon was on May 15, 2017, when Carter DeLuca wrote to Syntheon. See Modi

Aff., ¶ 11. In that letter, Carter DeLuca raised a number of issues—including whether Syntheon

had the court’s permission to take Carter DeLuca’s deposition outside of the discovery period,

the apparent disagreement between Syntheon and Covidien regarding privilege waiver, and the

defect with the subpoena’s compliance date. See Dkt. 103-8. Despite these issues, Carter

DeLuca offered to meet and confer a second time. When it did not receive a response, Carter

DeLuca assumed that Syntheon no longer sought discovery from Carter DeLuca and that any

dispute had been resolved.

       To this day, Syntheon offers no explanation as to why it waited one and a half months

before responding to Carter DeLuca’s May 15, 2017, letter. Carter DeLuca’s position has not

changed since its May 15th letter, and yet Syntheon did not actually file its Motion to Compel

until over two months later—on July 18, 2017. This Court must not permit Syntheon to abuse

the discovery process by leaving a non-party indefinitely in suspense about whether it must

comply with a subpoena to which it has lodged valid and timely objections—particularly where,

as here, fact discovery has long since closed. If Syntheon wanted to move to compel Carter

DeLuca’s compliance, it should have done so before the close of discovery.6 Accordingly,

Syntheon’s Motion to Compel should be denied as untimely.




6
  The fact that Syntheon waited until April 12, 2017 to serve its subpoena on Carter DeLuca
(which was prepared on April 7, 2017, see Dkt. 103-1 at 2) and therefore had little time between
the service of Carter DeLuca’s objections and the close of discovery is a problem of Syntheon’s
own making. Syntheon could have (1) served the subpoena on Carter DeLuca weeks or even
months earlier, (2) corrected the typographical error with the compliance date to move up the due
date for Carter DeLuca’s objections, or (3) formally requested an extension of time from this
Court, prior to the close of discovery, to file a motion to compel. Syntheon failed to take even
the most basic of these precautionary measures.


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IV.    CONCLUSION

       For the reasons set forth herein, Syntheon’s motion to compel should be denied. To the

extent Syntheon’s subpoena seeks arguably relevant documents, Syntheon should already have

them (or could have obtained them) through ordinary party discovery with Covidien or from

public resources, such as the U.S. Patent and Trademark Office. The vast majority of the

remainder of the documents sought by Syntheon are either irrelevant or privileged. Further,

Syntheon’s Motion to Compel—filed nearly three months after the close of discovery—is

untimely. Carter DeLuca therefore respectfully requests that the Court deny Syntheon’s Motion

to Compel.

DATED: July 31, 2017                        Respectfully submitted,

                                            NON-PARTY CARTER, DELUCA, FARRELL &
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                                  CERTIFICATE OF SERVICE

        I, David S. Godkin, hereby certify that the foregoing document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on July 31, 2017.

                                              /s/ David S. Godkin
                                              David S. Godkin




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